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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

  RICARDO WILLIAMS,                                 )
                                                    )
         Plaintiff,                                 )
                                                    )
  v.                                                )   Case No. 4:21 CV 140 CDP
                                                    )
  CITY OF ST. LOUIS, et al.,                        )
                                                    )
         Defendants.                                )

                                MEMORANDUM AND ORDER

       As plaintiff intends to opt out of the Cody class action and proceed on his individual claims

(ECF 61) and defendants make no other compelling arguments in favor of granting a stay,

       IT IS HEREBY ORDERED that defendants’ motion to stay [54] is denied.




                                                CATHERINE D. PERRY
                                                UNITED STATES DISTRICT JUDGE

Dated this 6th day of October, 2022.




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